            Case 1:20-cv-11973-LTS Document 6 Filed 11/06/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                           )
MARY JANE ROMERO,                          )
                                           )
           Plaintiff,                      )
                                           )
           v.                              )
                                                           Civil Action No. 20-11973-LTS
                                           )
WILBUR L. ROSS, United States Secretary of )
Commerce,                                  )
                                           )
           Defendant.                      )
                                           )

                                              ORDER

                                       November 6, 2020

SOROKIN, D.J.

       Pro se plaintiff Mary Jane Romero has filed an employment discrimination complaint, a

motion for leave to proceed in forma pauperis, and a motion for appointment of counsel. Upon

review of these documents, the Court hereby orders:

       1.      The motion for leave to proceed in forma pauperis is GRANTED.

       2.      The Clerk shall issue a summons. Romero is responsible for ensuring that (a) the

defendant is served with the summons, complaint, and this order; and (b) said service is executed

in accordance with Rule 4 of the Federal Rules of Civil Procedure. Because the defendant is an

official of the United States government, Romero must also provide a copy of the summons and

complaint to the United States Attorney for the District of Massachusetts and the United States

Attorney General. See Fed. R. Civ. P. 4(i).
            Case 1:20-cv-11973-LTS Document 6 Filed 11/06/20 Page 2 of 2




       3.      The aforesaid service must be completed within 90 days of the issuance of the

summons. Failure to complete service in a timely fashion may result in dismissal of the action

without prior notice to the plaintiff. See Fed. R. Civ. P. 4(m); Local Rule 4.1 (D. Mass.).

       4.      Because Romero is proceeding in forma pauperis, she may elect to have the

United States Marshals Service (“USMS”) complete service with all costs of service to be

advanced by the United States. If so asked by the plaintiff, the USMS shall serve the summons,

complaint, and this order on the defendant as directed by the plaintiff. Romero is responsible for

providing the USMS all copies for service and for completing a USM-285 form. The Clerk shall

provide Romero with USM-285 forms and instructions for service by the USMS.

       5.      The motion for appointment of counsel is DENIED without prejudice. At this

early stage of the case, the Court cannot determine whether the appointment of pro bono counsel

is merited. The plaintiff may file a renewed motion for counsel after the defendant has been

served with responded to the complaint.

       SO ORDERED.

                                                     /s/ Leo T. Sorokin
                                                     UNITED STATES DISTRICT JUDGE




                                                 2
